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 1
                                                                The Honorable Ronald B. Leighton
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 6
                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 8
     UNITED STATES OF AMERICA,                       )
 9                                                   )   NO.    CR04-5337RBL
                           Plaintiff,                )          CR06-5689RBL
10                                                   )
                    v.                               )   ORDER
11                                                   )   GRANTING UNITED STATES’
     ENRIQUE CHAVEZ-HERNANDEZ,                       )   MOTION TO SEAL ITS
12   a/k/a Adan Magana,                              )   SENTENCING MEMORANDUM
     a/k/a “Guatamo,”                                )   AND RELATED PLEADINGS
13                                                   )
                           Defendant.                )
14                                                   )
15

16          THIS MATTER having come before the Court on the motion of the plaintiff,
17   United States of America, to file its Sentencing Memorandum in this matter under seal;
18   the Court, having reviewed the motion and the Sentencing Memorandum, and being
19   otherwise fully advised, finds and rules as follows:
20          1.      Public filing of the government’s sentencing memorandum risks possible
21   harm to witnesses and other participants in this matter.
22          2.      These potential harms outweigh the strong presumption in favor of public
23   access to the government’s sentencing memorandum.
24   ///
25   ///
26   ///
27

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     ORDER SEALING U.S. SENTENCING MEMO - 1                                        UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
     (Chavez-Hernandez, CR04-5337RBL/CR06-5689RBL)                                 Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
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 1            NOW, THEREFORE, it is hereby
 2            ORDERED that the Sentencing Memorandum of the United States and related
 3   pleadings in this matter shall be sealed and remain under seal until further order of the
 4   Court.
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 6
                                                     A
              IT IS SO ORDERED this 8th day of January, 2007.
                                                     RONALD B. LEIGHTON
                                                     UNITED STATES DISTRICT JUDGE
 7
     Presented by:
 8
     s/ Vincent T. Lombardi
 9   VINCENT T. LOMBARDI
     Assistant United States Attorney
10   WSBA 21967
     United States Attorney’s Office
11   700 Stewart Street, Suite 5220
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12   Telephone: (206) 553-2462
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     ORDER SEALING U.S. SENTENCING MEMO - 2                                       UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
     (Chavez-Hernandez, CR04-5337RBL/CR06-5689RBL)                                Seattle, Washington 98101-1271
                                                                                           (206) 553-7970
